7:23-cv-02407-TMC                                                                                                                                                        Date Filed 06/01/23   Entry Number 1-3   Page 1 of 2




       From: Rhett Burney <rhett@rhettburneylaw.com>
       Date: May 16, 2023 at 4:11:28 PM EDT
       To: "Honeycutt, Mike" <jhoneycutt@fisherphillips.com>
       Subject: Re: Snider Fleet/Jonathan Nelson

       CAUTION: This email originated from outside of the Firm. Do not click links or
       open attachments unless you recognize the sender and know the content is
       safe.


       Yes. I have spoken with him. He is looking back at everything so I can
       provide you a more specific answer as to possible times, info, etc.



       PLEASE NOTE MY EMAIL HAS CHANGED.




       Rhett D. Burney | Attorney
            The link ed image cannot be display ed. The file may hav e been mov ed, renamed, or deleted. Verify that the link points to the correct file and location.




       Law Office of Rhett D. Burney, PC

       312 South Main St.
       Simpsonville, SC 29681
       p: 864-228-1616| f: 864-228-6722| email:
       rhett@rhettburneylaw.com



       On Tue, May 16, 2023 at 4:05 PM Honeycutt, Mike
       <jhoneycutt@fisherphillips.com> wrote:
        Rhett,

        I understood from our call yesterday that you would be getting back to
        me this morning after you spoke with Mr. Nelson.

        Please advise.

        Mike
7:23-cv-02407-TMC                                                              Date Filed 06/01/23                                                                                                       Entry Number 1-3                  Page 2 of 2


       Sent from my iPhone




              On May 15, 2023, at 3:22 PM, Honeycutt, Mike
              <jhoneycutt@fisherphillips.com> wrote:

              Rhett,



              I just left a message with your office.



              Please advise when you have a few minutes to talk.



              If you wish, you can try my cell at 704 877‐8544 and I
              will call you right back if I am not available.



              Thanks,



              Mike



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                                                                                                                                                                                 J. Michael Honeycutt
                                                                                                                                                                                 Partner
                                                                                                                                                                                 Fisher & Phillips LLP
                                                                                                                                                                                 227 West Trade Street | Suite 2020 | Charlotte, NC 28202
                                                                                                                                                                                 jhoneycutt@fisherphillips.com | O: (704) 778-4172 | C: (704) 877-8544
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                                                                                                                                                                                 This message may contain confidential and privileged information. If it has been sent to you in error, pleas
                                                                                                                                                                                 reply to advise the sender of the error, then immediately delete this message.




              From: Rhett Burney <rhett@rhettburneylaw.com>
              Sent: Friday, May 12, 2023 3:34 PM
              To: Honeycutt, Mike <jhoneycutt@fisherphillips.com>
              Subject: Re: Snider Fleet/Jonathan Nelson
